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IN THE UNITED STATES DIS'I`RIC'I` COUR'I` ‘wsY_,__ §____ nc
FOR THE WESTERN'DISTRICT OF TENNESSEE

wESTERN DIVISION USAUG 29 AH 6:|,2

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CLEPK. U.S. DSSTH T
W/D 05 TN. ME?JPE|SXM

 

UNITED STATES OF AMERICA

Plaintiff,

Criminal No. 1QS_~,|QQ:S Ml

(60-Day Continuance)

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE C‘ONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the September
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, October 28L 2005, with trial to take place
on the November, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through November 18, 2005. Agreed in

open court at report date this 26th day of August, 2005.

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This document entered on the docket she fm cor hans 5¢
with Ruie 55 endich 32(b) FF\CrP on g akle

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SO ORDERED this 26th day of August, 2005.

Q»OM‘CQQ.

 

JO PHIPPS MCCALLA
k TED STATES DISTRICT JUDGE

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/ ' \\

Assistant United States Attorney

 

 

 

lS:M_

 

 

Counsel for Defendant(s)

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
case 2:05-CR-20039 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

ENNESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

